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                             UNITED STATES BANKRUPTCY COURT
                             NORTHERN DISTRICT OF MISSISSIPPI



IN RE: Swift Staffing Holdings, LLC                                  Case no. 18-11616

 Debtor(s)                                                           Chapter 11




                           UNITED STATES TRUSTEE’S RESPONSE TO
                             EMERGENCY MOTION TO APPROVE
                            MANAGEMENT/PAYROLL AGREEMENT
                                          [DKT. 2]


       Comes now, David W. Asbach, the Acting United States Trustee for Region 5 “UST,” by and

through undersigned counsel, and files this Response to the debtor’s Emergency Motion to Approve

Management/Payroll Agreement [DKT. NO. 2] and in support thereof will show unto the court as

follows, to-wit:

                                                     I.

        To the extent the emergency nature of this motion seeks to replace current management in this

debtor, and obtain such relief on an expedited basis, prior to the filing of schedules, and adequate notice

to all parties entitled to such information, absent any evidence that gross mismanagement, malfeasance,

incompetence, or such other acts are occurring which would bring harm to the estate, such relief should

be denied.

                                                    II.

       Furthermore, should this court determine, at an interim hearing on this matter, that such cause

exists to replace current management, as required under 11 U.S.C. § 1104(a)(1), the court should enter

an order directing the U.S. Trustee to appoint a Chapter 11 trustee. The only remedy established by
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Congress to replace management in a Chapter 11 case is the appointment of a Chapter 11 trustee

pursuant to 11 U.S.C. § 1104(a).



                                                  III.

       The United States Trustee reserves the right to respond and/or address any other issues at a

hearing of this matter.



       WHEREFORE, PREMISES CONSIDERED, the United States Trustee submits this Response to

the debtor’s Emergency Motion to Approve Management/Payroll Agreement [DKT. 2] and prays for

general relief to which entitled in these premises.

                                                         Respectfully submitted,

                                                         David W. Asbach,
                                                         Acting United States Trustee
                                                         Region 5, Judicial Districts of
                                                         Louisiana and Mississippi

                                                by: /s/ Sammye S. Tharp
                                                    Sammye S. Tharp,
                                                    Trial Attorney

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                                   CERTIFICATE OF SERVICE

    I, Sammye S. Tharp, do hereby certify that a true and exact copy of the foregoing response has been

tendered to the individual(s) listed below by CM/ECF, this the 26th day of February, 2018.

              Craig M. Geno, Esq.
              cmgeno@cmgenolaw.com


                                                   /s/ Sammye S. Tharp
                                                   Sammye S. Tharp
